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FILED PARTIALLY UNDER SEAL

Exhibit 97

September 28, 2023 Notice
(Excerpt of Exhibit A Included As Exhibit 98)
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From: Josh Weiner [joshweiner@Catalinare.com]
Sent: 9/28/2023 6:38:44 PM

To: jeffreysilver@silver-law.net

Subject: AEIC/PIC Update

Attachments: DOCO92823.pdf

Mr. Silver,

Please see the attached. An encrypted thumb drive with the AEIC updates is being sent to you overnight by FedEx. The
password for the thumb drive is:

Redacted

Please let me know if you have any questions.

Thanks,
Josh

Joshua Weiner

Vice President/Assistant General Counsel
Catalina U.S. Insurance Services LLC
Telephone +1 860 773 3417

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Datei -S + Ad

T. Alfaro

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Catalina Re

September 28, 2023 Catalina U.S. Insurance Services LLC
5 Batterson Park Road, 3% Floor

Jeffrey Silver Farmington, CT 06032

Pennsylvania Insurance Company Reel con

5 5 Administrator on behalf of:

1Os02 Cla ced Alea North America Insurance Company

Omaha, NE 68154 National American Insurance Company of California
National Home Insurance Company (RRG)
SPARTA Insurance Company

Re: Indemnification Claim Members of Catalina Holdings (Bermuda) Lid.

Dear Mr. Silver:

I write on behalf of SPARTA in reference to the Stock Purchase Agreement ("SPA")
among Pennsylvania General Insurance Company ("PGIC"), OneBeacon Insurance Company
("OneBeacon"), and SPARTA Insurance Holdings, Inc. ("SPARTA") dated as of March 12,
2007.

SPARTA has previously provided Pennsylvania Insurance Company ("PIC," formerly
PGIC) with notice of various claims under Section 8.1 of the SPA, which relate to insurance
policies originally issued by American Employers’ Insurance Company ("AEIC"), for which
PGIC agreed to indemnify SPARTA under the SPA.

In prior correspondence, SPARTA has reserved its right to advise PIC of the dollar
amount of each such claim at a later date. On November 7, 2023, SPARTA advised PIC that it
had expended] Redacted | on the previously noticed claims through September 30, 2022, and

in service fees paid to A-G. Risk Management Inc. for processing these claims.
SPARTA also informed PIC that it reserved the right to provide PIC with notices regarding

additional amounts expended. To date, PIC has not made any payments to SPARTA.

Pursuant to Section 8.3 of the SPA, SPARTA hereby advises PIC that SPARTA has
expended an additional on the previously noticed claims and an additional
in service fees paid to A.G. Risk Management Inc. for processing those claims
between October 1, 2022 through August 31, 2023. See Exhibit A. Please promptly remit
payment to SPARTA of that amount.

PIC is responsible for the handling and defense of these claims under the SPA and the
Instrument of Transfer and Assumption between PGIC and AFIC dated June 15, 2005. Until
PIC confirms that it will satisfy its contractual obligations to SPARTA by administering and
paying these claims, SPARTA may continue to protect its interest and reserves all rights. The
amounts set forth on Exhibit A are provided without prejudice to SPARTA's right to recover
additional amounts expended after August 31, 2023 in furtherance of resolving these or other
claims for which PIC is responsible, and to SPARTA's right to recover legal fees as incurred or

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will incur due to PGIC's failure to satisfy its obligations to SPARTA. SPARTA will provide
PIC with any such additional amounts expended by SPARTA periodically.

Please contact me if you need additional information or believe any of this is incorrect.

Regards

Joshua Weiner

Enclosure

ce: Samuel C. Kaplan, counsel for PIC (via email w/enclosure)

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Excerpt of Exhibit A
Included As Exhibit 98
